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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 JOSEPH E. LAWRENCE,                                    Case No.: 2:22-cv-01782-APG-EJY

 4          Plaintiff                                                    Order

 5 v.

 6 DR. MINEV, et al.,

 7          Defendants

 8         On June 24, 2024, the defendants filed a motion for summary judgment. ECF No. 43.

 9 The court thereafter issued a Klingele notice. ECF No. 47. The Klingele notice was returned in

10 the mail. ECF No. 49. A few days later, plaintiff Joseph Lawrence updated his address with the

11 court. ECF No. 50. It appears that because Lawrence was released from custody and changing

12 his address, he may not have received either the defendants’ motion for summary judgment or

13 the court’s Klingele notice. Consequently, I direct the defendants to send their motion and the

14 Klingele notice to Lawrence at his new address. Lawrence has until August 23, 2024 to respond

15 to the motion.

16         I THEREFORE ORDER the defendants to send copies of their motion for summary

17 judgment (ECF No. 43) and the court’s Klingele notice (ECF No. 47) to plaintiff Joseph

18 Lawrence at his updated address.

19         I FURTHER ORDER that plaintiff Joseph Lawrence has until August 23, 2024 to

20 respond to the defendants’ motion for summary judgment.

21         DATED this 2nd day of August, 2024.

22

23
                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
